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                         IN THE UNITED STATES BANKRUPTCY COURT
 
                            FOR THE NORTHERN DISTRICT OF IOWA
 
 
IN RE:                                                 Chapter 11 Bankruptcy
                                                       Case No. 18-01297
VEROBLUE FARMS USA, INC., et al.,                       
          Debtors.                                     Honorable Thad J. Collins
                                                        
                                                       FISHDISH, LLC’S WITNESS AND
                                                       EXHIBIT LISTS
                                                        
                                                       Hearing Date: April 17, 2019
                                                       Time: 10:00 a.m.



          Fish Dish, LLC, et al. (“FishDish” or “Debtors”), by and through the undersigned counsel,
respectfully submit this Witness and Exhibit List for the April 17, 2019 Final Confirmation
Hearing for the Amended Plan (Doc. #364).
 
 
                                             WITNESSES
 
 
         1.     John Hawkins – Mayor, City of Webster City.

         2.     Zach Chizek – City Attorney, City of Webster City.

         3.     Ken Wetzler – Director of Public Works, City of Webster City.

         4.     Mark Nelson.

         5.     Any witnesses designated by any other party.

         6.     Any witnesses called for rebuttal and/or impeachment.
 
 
          FishDish, LLC reserves the right to call any witness identified or called by any other
objectors, creditors or the Debtors. 
 



 
 



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                                                                EXHIBIT LIST

 EXH     BRIEF DESCRIPTION                                                  MARK       OFFER      OBJECT       ADMIT      DATE    DISPOSITION

  1     City Council Meeting Agenda,
        Webster City, Iowa – dated September 4, 2018
  2     City Council Meeting Minutes –
        dated September 4, 2018
  3     City Council Meeting Agenda,
        Webster City, Iowa – dated September 17, 2018
  4     City Council Meeting Minutes –
        dated September 17, 2018
  5     City Council Meeting Agenda,
        Webster City, Iowa – dated October 1, 2018
  6     City Council Meeting Minutes –
        dated October 1, 2018
  7     Webster City, Iowa Organizational Chart
  8     Davis, Brown, Koehn, Shors & Roberts, P.C.
        Fee Application – dated February 20, 2019
  9     Several digital photographs of Debtors’ fish
        culling efforts, taken by M. Nelson
  10 Notice of Challenge to Broadmoor Lien and
     Broadmoor Secured Debt and Additional Claims
     and Causes of Action Identified by Committee,
     December 19, 2018

  11 April 2019 Application of Thompson Coburn
     LLP for Compensation as Special Litigation
     Counsel for Debtors-In-Possession (through
     April 8, 2019)
  12 Any pleading(s), document(s) or notice(s) on the
     docket of the Bankruptcy Cases
  13 Any exhibit as designated by any other party
  14 Any exhibits used for rebuttal and/or
     impeachment

NOTE: Per Local Bankruptcy Rules, marked exhibits should be hand-delivered to the Court Recorder prior to the Trial or Hearing.




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           FishDish, LLC reserves the right to introduce any previously admitted exhibits from

 previous hearings, and exhibits listed by any other objector, creditor or the Debtors.

 Dated: April 12, 2019                         Respectfully submitted,


                                               FISHDISH LLC

                                               By: /s/ Aaron L. Hammer
                                                       One of Its Attorneys

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                                               & Johnson, P.C.
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                                               - and -

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                                 CERTIFICATE OF SERVICE

           The undersigned counsel of record hereby certifies that he caused a copy of the

 foregoing FISHDISH, LLC’S WITNESS AND EXHIBIT LISTS to be filed with the U.S.

 Bankruptcy Court for the Northern District of Iowa the 12th day of April, 2019. Notice and

 a copy of this filing will be served upon all counsel of record by operation of the Court’s

 CM/ECF electronic filing system.

                                              By: /s/ Aaron L. Hammer




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